 Case: 4:08-cr-00133-ERW            Doc. #: 336 Filed: 01/07/09             Page: 1 of 1 PageID #:
                                              1095

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA, et al.,                   )
                                                    )
            Plaintiff(s),                           )
                                                    )
      vs.                                           )           Case No. 4:08CR00133 ERW
                                                    )
RONNIE ALLEN NELSON,                                )
                                                    )
            Defendant(s).                           )

                                               ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $5,000.00 to the

surety of record.




                                                    E. RICHARD WEBBER
                                                    UNITED STATES DISTRICT JUDGE

            Dated this 7th day of January, 2009.

  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 7th day of January, 2009.


                                                    /s/ Cynthia Kornberger
                                                        Deputy Clerk
